Case 1:20-cr-00040-DSC Document 2 Filed 09/08/20 Page 1 of 2

CRIMINAL CASE INFORMATION SHEET

Pittsburgh 7 Erie X Johnstown

 

Related to No.- | Judge

(All criminal prosecutions arising out of the same criminal transaction or series of transactio;

deemed related). :

CATEGORY: 1. Narcotics and Other Controlled Substances
la. ___ Narcotics and Other Controlled Substances
. (3 or more Defendants)
2. ___~ Fraud and Property Offenses
2a. Fraud and Property Offenses

(3 or more Defendants)

ns are

 

3 Crimes of Violence
4. Sex Offenses |
5. |X Firearms and Explosives
6 Immigration |
7 All Others |
Defendant’s name: Tyvarh Nicholson
Is Indictment waived: Yes X No !
—_ —_
|
Pretrial Diversion: Yes xX No |
Juvenile proceeding: Yes | X No |
: |
Defendant is: _ X Male Female |
I
|
Superseding Indictment or Information Yes xX No

. Previous case number:

If superseding, previous case was/will be:

Dismissed on defendant’s motion
Dismissed on governments’ motion
After appellate action

Other (explain)

County in which first offense cited
occurred: Erie

Previous proceedings before
Magistrate Judge:

Case No.:

PLEASE INCORPORATE MAGISTRATE CASE WITH CRIMINAL CASE

 

 
Case 1:20-cr-00040-DSC
Date arrested or date continuous U.S.
custody began:
Defendant:
Name of Institution:

Custody is on:

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5/30/20

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xX is in custody

Erie County Prison

is not in custody ;

 

this charge

X another charge

another conviction

 

 

 

_X_ State ___ Federal :
Detainer filed: yes _X_ no !
Date detainer filed: :
Total defendants: on
Total counts: 2
Data below applies to defendant No.: on
Defendant’s name: Tyvarh Nicholson

SUMMARY OF COUNTS
OFFENSE FELONY MISDEMEANOR

COUNT U.S. CODE

1

18 U.S.C. §§ 231(a)(3) and 2

26 U.S.C. § 5861(d)

I certify that to the best of my knowledge the above entries are true and correct.

DATE:

 

Obstruction of law enforcement
during civil disorder

Possession of an unregistered
firearm/destructive device

@
ff

fo
f

Pf woe

 

XX

of

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LA jC a an Cent 1

CHRISTIAN A. TRABOLD
Assistant U.S. Attorney

PA ID No. 75013
